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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Maxwell Little, et al.
                                      Plaintiff,
v.                                                     Case No.: 1:18−cv−06954
                                                       Honorable Virginia M. Kendall
JB Pritzker for Governor, et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 22, 2019:


        MINUTE entry before the Honorable Virginia M. Kendall. Motion hearing held on
10/22/2019. Defendant's Motion to compel [48] is granted. Plaintiff's counsel shall
determine what documents they may hold and for what purpose by 11/1/2019. Plaintiffs
shall supplement or respond to deficiency requests by the Defendants by 11/8/2019. End
of Fact Discovery is extended and ordered closed by 12/10/2019. End of Fact Discovery
hearing is reset for 12/17/2019 at 9:00 AM. Mailed notice(lk, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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